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AO 245B (Rev, 3/95) Sheet 1 - Judgment in a Criminal Case

United States District Court

Southern District of Florida

 

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v. (For Offenses Committed On or After November 1, 1987)
John Howes, Esq.
THE DEFENDANT:
kx} pleaded guilty to count(s) FOUR , bn _ _

 

[| pleaded nolo contendere to count(s)
which was accepted by the court.

[_] was found guilty on count(s)
after a plea of not guilty.

 

 

Date Offense Count
Title & Section Nature of Offense Concluded Number(s)
18 USC 2314 Transportation of Stolen Securities 03/30/91 FOUR

in Interstate Commerce.

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

[ | The defendant has been found not guilty on count(s)

 

[xf Count(s) 211 remaining counts (&)(are) dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney. for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid.

 

 

 

 

 

 

Defendant's Soc. Sec. No.: XXX-XX-XXXX JANUARY 22, 1998 _
Defendant's Date of Birth: 07/19/38 Date of Imposition of Judgment
Defendant's USM No.: #50007-004
Defendant's Residence Address: / Benepe
602 NW 44TH TERRACE 3 =~» Laegub dunes
DEERFIELD BEACH, FL. 33422 Signature of Judicial Officer
URSULA UN bro BENAGES
U.S. DISTRICT JUDGE FOR THE Y
SOUTHERN DISTRICT OF FLORIDA

 

 

Defendant's Mailing Address: Name & Title of Judicial Officer
Same as above :
JANUARY 22, 1998 \

Oate

 

 
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AO 245B (Rev. 3/95) Sheet 2 - Imprisonment

 

 

 

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DEFENDANT: PLAYTON, GEORGE
97-8096-CR
CASE NUMBER: UNGARO-BENAGES

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for

a total term of ___ SEVENTY (70) MONTHS as to count FOUR. The term of imprisonment in case number
97-8096-CR-UUB shall run concurrent to the sentence imposed in case number 93-8051-CR-UUB.

kxl The court makes the following recommendations to the Bureau of Prisons:

A camp in the South Florida area.

kx] The defendant is remanded to the custody of the United States Marshal.

C | The defendant shall surrender to the United States Marshal for this district:

[| at a.m./p.m. on
[| as notified by the United States Marshal.

 

[| The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

[| before 2 p.m. on

 

[_] as notified by the United States Marshal.
[| as notified by the Probation or Pretrial Services Office.

 

 

 

 

 

 

 

 

RETURN
| have executed this judgment as follows:
Defendant delivered on to
at , With a certified copy of this judgment.

 

By

 

. Deputy U.S. Marshal
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AO 245B (Rev. 3/95) Sheet 3 - Supervised Release -

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PLAYTON, GEORGE
97-8096-CR-UUB

DEFENDANT:
CASE NUMBER:

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of | THREE (3) YEARS
Supervised Release in this case shall run concurrent with S.R. in case #93-8051-CR-UUB
IT IS FURTHER ORDERED AND ADJUDGED that as a special condition of Supervised Release
the defendant shall make full and complete disclosure of his personal and business
finances/financial records, as required by the Probation Officer. The defendant shall
submit to an audit of his personal and/or business financial records as requested

by U.S. Probation Officer.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.
The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one
drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as directed by
the probation officer.

[ | The above drug testing condition is suspended based on the court's determination that the defendant poses
a low risk of future substance abuse. (Check, if applicable.)

[| The defendant shall not possess a firearm as defined in 48 U.S.C. § 921. (Check, if applicable.)

if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the
defendant pay any such fine or restitution that remains unpaid at the commencement of the term of supervised release
in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The
defendant shall also comply with the additional conditions on the attached page (if indicated below).

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
five days of each month;

3) the defendant shall answer truthfully ail inquiries by the probation officer and follow the instructions of the probation
officer;

4) the defendant shall support his or her dependents and meet other family responsibilities:

5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or

other acceptable reasons;

6) the defendant shall notify the probation officer ten days prior to any change in residence or employment,

7) the defendant shall refrain from excessive use of alcohol;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
convicted of a felony unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit

confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer:

42) the defendant shail not enter into any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court:

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement.
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AO 2458 (Rev. 3/95) Sheet 5, Part A - Criminal Monetary Penalties

 

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DEFENDANT: PLAYTON, GEORGE

_ 97-8096-CR
CASE NUMBER: ynGARO-BENAGES

CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set
forth on Sheet 5, Part B.

Assessment Fine Restitution
Totals: $50.00 - $ $

 

 

[ | if applicable, restitution amount ordered pursuant to plea agreement.......-.----

FINE

The above fine includes costs of incarceration and/or supervision in the amount of $ _

The defendant shall pay interest on any fine of more than $2,500, unless the fine is paid in full before the fifteenth day
after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 5, Part B may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 361 2(g).

[| The court determined that the defendant does not have the ability to pay interest and it is ordered that:
[_] The interest requirement is waived.

[| The interest requirement is modified as follows:

RESTITUTION

[| The determination of restitution is deferred in a case brought under Chapters 109A, 110, 110A and 113A of Title 18 for
offenses committed on or after 09/13/1994, until ~ “An Amended Judgment in a Criminal Case

will be entered after such determination.

[] The defendant shall make restitution to the following payees in the amounts listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless

 

specified otherwise in the priority order or percentage payment column below. Priority Order or
Percentage of
** Total Amount of Payment
Name of Payee Amount ofLoss Restitution Ordered
Totals: $ $

 

** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13, 1994.
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‘AO 245B (Rev. 8/96) Sheet 5, Part B - Criminal Monetary Penalties

 

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; PLAYTON, GEORGE
DEFENDANT: 97-8096-CR
CASE NUMBER: UNGARO-BENAGES
SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution; (5)
interest; (6) penalties.

Payment of the total fine and other criminal monetary penalties shall be due as follows:

 

A XX in full immediately; or

B | $ immediately, balance due (in accordance with C, D, or E); or

C { | notlater than ; or

D [_] ininstallments to commence day(s) after the date of this judgment. In the event the entire amount of

 

criminal monetary penalties imposed is not pai prior to the commencement of supervision, the U.S. probation officer
shall pursue collection of the amount due, and shall request the court to establish a payment schedule if
appropriate; or

E [| in (e.g. equal, weekly, monthly, quarterly) installments of $
over a period of year(s) to commence day(s) after the date of this judgment.

 

 

 

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

Special instructions regarding the payment of criminal monetary penalties:

[_] Joint and Several

[ The defendant shall pay the cost of prosecution.
[ The defendant shall pay the following court cost(s):

[ The defendant shall forfeit the defendant's interest in the following property to the United States:

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary
penalty payments, except those payments made through the Bureau of Prisons’ Inmate Financial Responsibility Program are to
be made as directed by the court, the probation officer, or the United States attorney.
